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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

United States of America,

                    Plaintiff,               Case No. 20-cr-20433
                                             Honorable Paul D. Borman
vs.

Samuel George Baker,

                    Defendant.


                         Preliminary Order of Forfeiture


      Based on the defendant, Samuel George Baker’s (“defendant”), guilty plea

to Wire Fraud in violation of 18 U.S.C. § 1343, as alleged in Count One of the

Indictment, the Government’s Application for Entry of Preliminary Order of

Forfeiture, the defendant’s Rule 11 plea agreement to forfeiture, and all

information contained in the record, and pursuant to 18 U.S.C. § 981(a)(1)(C) and

28 U.S.C. § 2461(c), and Federal Rule of Criminal Procedure 32.2, IT IS

HEREBY ORDERED THAT:

       1.     The defendant’s interest in the following property is FORFEITED to

the United States under 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c):

             $187,200.00 in U.S. Currency found in various places within the
              residence at XXXXX Violet Drive, Southfield, MI;
             Miscellaneous Jewelry, including:
              o Rolex Presidential Oyster Perpetual, S/N: S0V08440, Model: 218235
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              o Rolex Submariner, S/N: 3V896755, Model: 126715CHNR
              o Rolex Sky Dweller, S/N: 083N0791, Model: 326935
              o Rolex Masterpiece Tridor, S/N: K557353, Model: 18948; and
             (10) Assorted date $50 Gold American Eagle Coins.

       2.     Pursuant to Fed.R.Crim.P. 32.2(b)(4)(A), this Preliminary Order of

Forfeiture shall become final as to the defendant upon entry and forfeiture of the

Subject Property shall be made part of the defendant’s sentence and shall be

included in his Judgment.

      3.      Upon entry of this Preliminary Order of Forfeiture, the United States

Attorney General or his designee is authorized to commence any proceedings to

comply with the statutes governing third party rights, including giving notice of

this Order. Pursuant to 21 U.S.C. § 853(n), Fed. R. Crim. P. 32.2, and other

applicable rules, the United States shall publish notice of this Preliminary Order of

Forfeiture and of its intent to dispose of the Subject Property on

www.forfeiture.gov, for at least thirty consecutive days. The United States may

also, to the extent practicable, provide direct written notice to any person or entity

who appears to be a potential claimant, with standing, to contest forfeiture in an

ancillary proceeding. The aforementioned notice shall direct that any person, other

than the defendant, asserting a legal interest in any of the Subject Property must

file a petition with the Court within thirty (30) days of the final date of publication

of notice or within thirty (30) days of receipt of actual notice, whichever is earlier.

The petition shall be for a hearing before the Court alone, without a jury and in
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accordance with 21 U.S.C. § 853(n), to adjudicate the validity of the petitioner's

alleged interest in the Subject Property. Any petition filed by a third party asserting

an interest in any of the Subject Property must be signed by the petitioner under

penalty of perjury and must set forth the nature and extent of the petitioner's

alleged right, title or interest in the identified Subject Property, the time and

circumstances of the petitioner’s acquisition of the right, title, or interest in the

identified Subject Property, any additional facts supporting the petitioner's claim,

and the relief sought.

      4.     After the disposition of any motion filed under Fed. R. Crim. P.

32.2(c)(1)(A) and before a hearing on any ancillary petition, the United States may

conduct discovery in accordance with the Federal Rules of Civil Procedure upon a

showing that such discovery is necessary or desirable to resolve factual issues in

the ancillary proceeding.

      5.     If no third-party files a timely petition for any of the Subject Property

before the expiration of the period provided in 21 U.S.C. § 853(n)(2), then this

Preliminary Order of Forfeiture shall become the Final Order of Forfeiture as

provided in Fed. R. Crim. P. 32.2(c)(2).

      6.     If a third-party files a timely petition for ancillary hearing regarding

any of the Subject Property, the Court shall enter a final order of forfeiture by




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amending this Preliminary Order of Forfeiture as necessary to account for any

third-party rights as provided under Fed. R. Crim. P. 32.2(c)(2).

      7.     Pursuant to 21 U.S.C. § 853(n)(7), the United States shall have clear

title to the Subject Property and shall be authorized to dispose of the Subject

Property as prescribed by law following the Court’s disposition of any petitions for

ancillary hearing, or, if none are filed, following the expiration of the period

provided in 21 U.S.C. § 853(n)(2) for filing such a petition.

      8.     The Court shall retain jurisdiction to enforce this order, and to amend

it as necessary, pursuant to Federal Rule of Criminal Procedure 32.2(e).


Dated: August 24, 2022                  s/Paul D. Borman
                                        Honorable Paul D. Borman
                                        United States District Judge




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